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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

VIRIDIS LABORATORIES, LLC,
a Michigan limited liability company, and
VIRIDIS NORTH, LLC,
a Michigan limited liability company,       No. 1:22-cv-283

      Plaintiffs,                           HON. PAUL MALONEY

v                                           MAG. JUDGE PHILLIP J. GREEN

JULIE KLUYTMAN, an individual,
DESMOND MITCHELL, an individual,            DEFENDANTS’ MOTION FOR
ALLYSON CHIRIO, an individual, and          RECONSIDERATION OF
CLAIRE PATTERSON, an individual,            OCTOBER 27, 2022 OPINION
                                            AND ORDER GRANTING IN
      Defendants.                           PART MOTION TO DISMISS



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                                                                        /

DEFENDANTS’ MOTION FOR RECONSIDERATION OF OCTOBER 27, 2022
  OPINION AND ORDER GRANTING IN PART MOTION TO DISMISS
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      Defendants Julie Kluytman, Desmond Mitchell, Allyson Chirio, and Claire

Patterson, by counsel, move this Court to reconsider its October 27, 2022 Opinion

and Order Granting in Part Motion to Dismiss under W.D. Mich. LCivR 7.4, and for

that motion state:

      1.     On October 27, 2022, this Court found that res judicata did not

preclude Plaintiffs’ federal procedural due process, substantive due process, and

equal protection claims brought pursuant to 42 U.S.C. § 1983. (PageID.902-905.)

While the Court dismissed some of the claims pursuant to collateral estoppel, it did

not dismiss Plaintiff Viridis North’s substantive due process claim brought under §

1983. (PageID.908.)

      2.     As this Court is aware, Plaintiffs previously sued the Defendants’ privy

(the Michigan Cannabis Regulatory Agency) in the Michigan Court of Claims and

received final decisions on the merits for each claim that is now before this Court.

      3.     Although the Court of Claims lacked jurisdiction to hear the federal

constitutional claims brought against these individual-capacity Defendants under a

§ 1983 theory, the Court of Claims still decided the very claims that Plaintiffs now

seek to re-litigate in this Court.

      4.     Michigan law is clear: Plaintiffs may not change the theory of their

litigation or change the forms of requested relief to circumvent the preclusive effects

of res judicata. Adair v. Michigan, 680 N.W.2d 386, 398 (Mich. 2004).

      5.     Moreover, in an almost identical case, this Court held that res judicata

precluded re-litigation of a federal constitutional claim under a § 1983 theory



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because plaintiff already received a final decision on the merits of the claim in a

Michigan court. Falk v. State Bar of Mich., 631 F. Supp. 1515, 1518-21 (W.D. Mich.

1986), aff’d, 815 F.2d 77 (6th Cir. 1987) (unpublished table opinion). The fact that

the Michigan court lacked jurisdiction to entertain a § 1983 theory or award

monetary relief pursuant to a § 1983 theory did not change this analysis. Id.

      6.     In its October 27, 2022 order, this Court deviated from the holding in

Falk despite its direct applicability to the case at hand. Instead, this Court relied

on the narrow exception to res judicata articulated in Pierson Sand & Gravel, Inc. v.

Keeler Brass Co., 596 N.W.2d 153, 155-56 (Mich. 1999).

      7.     Viewing the res judicata principles articulated in Adair and Falk, the

Court should reconsider its prior decision, find that res judicata bars Plaintiffs’

claims, and dismiss Plaintiffs’ lawsuit in its entirety. See W.D. Mich. LCivR 7.4.

The Court’s reliance on Pierson, without addressing or distinguishing the Falk

decision, is a palpable defect that merits reconsideration. 1 Id.

      8.     Pursuant to W.D. Mich. LCivR 7.1(d), the undersigned emailed

Plaintiffs’ counsel on November 10, 2022 to ascertain whether this motion would be

opposed. Plaintiffs’ counsel did not respond to the request. Thus, Defendants

ascertain that the motion will be opposed.

      Wherefore, for the reasons stated above and discussed more fully in the

accompanying brief, Defendants respectfully request that this Honorable Court




1Defendants do not seek reconsideration of the Court’s application of collateral
estoppel.

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grant this motion for reconsideration and issue an order dismissing Plaintiffs’

lawsuit in its entirety pursuant to res judicata.

                                        Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

I hereby certify that on November 10, 2022, I electronically filed the above
document with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

                                                        Respectfully submitted,


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